          Case 1:17-cr-00232-EGS Document 121 Filed 09/30/19 Page 1 of 6



                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    Plaintiff,

    v.                                                    Criminal Action No. 17-232-EGS

    MICHAEL T. FLYNN,

    Defendant.




                             SUPPLEMENTAL STATUS REPORT

         At the Court’s request, counsel have previously updated the Court on the status of the case

in the Eastern District of Virginia, United States v. Rafiekian, No. 1:18-cr-00457, in which Mr.

Flynn was a cooperating witness. As described in Dkt. 98, Mr. Flynn cooperated with the

government in multiple additional witness preparation sessions for more than 30 hours, waived

attorney-client privilege on many issues, provided documents and substantial cooperation—until

the government decided at the last minute not to use him as a witness.

         On September 24, 2019, Judge Anthony Trenga of the Eastern District of Virginia granted

Mr. Rafiekian’s motion for acquittal in its entirety. In a thorough 39-page opinion (attached),

Judge Trenga acquitted him on one count of conspiracy in violation of 18 U.S.C §371 and one

count of acting as an unregistered agent of a foreign government in violation of 18 U.S.C. §951.

Rafiekian, at Dkt. 372.

         The government changed its tack as to Mr. Flynn when he would not testify exactly as the

government demanded. It suddenly claimed it needed to name him as a coconspirator to admit

one piece of evidence for which it already had another means of admission. Judge Trenga wrote:

                                                  1
             Case 1:17-cr-00232-EGS Document 121 Filed 09/30/19 Page 2 of 6



        On July 3, 2019, the Government filed a Notice of Correction to the Record [], in
        which it advised the Court that it no longer planned to call Flynn as a witness in its
        case in chief. The Government also took the position for the first time, contrary to
        its earlier in-court statements, that Flynn was regarded as a co-conspirator and that
        it would seek to have his out-of-court statements introduced pursuant to Fed. R.
        Evid. 801(d)(2)(E).

Id. at 11.

        Yet, “neither the original nor superseding indictment in this case references Flynn as a

member of the alleged conspiracy or as an agent of the Turkish government; and in response to

the Court’s explicit questioning, the Government stated in open court that Flynn, who it planned

to call as a witness, was not a member of the charged conspiracy and that it would not rely upon

his testimony to establish the foundation for the admission of Alptekin’s hearsay statements.” Id.

        As to the substantive counts, Judge Trenga held that “[t]he Government [] failed to offer

substantial evidence from which any rational juror could find beyond a reasonable doubt that

Rafiekian knowingly acted and caused others to act in the United States as an agent of a foreign

government without proper notification to the Attorney General in violation of 18 U.S.C. § 951.”

Id. at 25. The court’s analysis made clear that there was “no substantial evidence that Rafiekian

agreed to operate subject to the direction or control of the Turkish government.” Id.

        The court determined that even though the government contended that “the payments made

to FIG from Inovo and from FIG to Alptekin allow[ed] the inference that Rafiekian was acting as

an agent of the Turkish government or that Alptekin was acting as the agent of Turkey in retaining

FIG,” there was “no evidence, direct or otherwise, sufficient to reasonably infer that Turkey funded

the engagement of FIG, or that the engagement was not in fact funded by a group of Turkish

businessmen, as Rafiekian stated consistently throughout.” Id. at 28.

        Further, the court held, id. at 33, that “[t]he Government [had not] presented sufficient

evidence for a rational jury to conclude beyond a reasonable doubt that Rafiekian conspired with

                                                  2
             Case 1:17-cr-00232-EGS Document 121 Filed 09/30/19 Page 3 of 6



Alptekin or anyone else to violate 22 U.S.C. § 618(a)(2), and that “[t]here [wa]s no evidence of

discussion or suggestions, let alone an agreement, express or implied, to either avoid filing under

FARA or to cause the filing of a false FARA registration statement.” (emphasis added).

        The government’s own timeline failed to support its theory of the case:

        [t]he superseding indictment alleges that the alleged conspiracy began from at least
        July 2016; but the DOJ did not even raise the specter of a need for a FARA filing
        until its letter to Flynn dated November 30, 2016 (which did not become known to
        Flynn until December 24, 2016), by which time FIG had ceased operations and was
        not performing any work for Inovo or anyone else.”

Id. at 34.

Ultimately, according to the court, the government’s case rested on unsupported assumptions:

        The Government claims ‘the three co-conspirators [Rafiekian, Flynn, and Alptekin]
        again gave substantially identical explanations [in the FARA filings] that the jury
        plainly deemed false and used as further evidence of a concerted agreement to lie.’.
        . . But that contention ignores the lack of evidence to establish the presumed
        conspiracy, or any agreement, among these three individuals concerning the FARA
        filing, as discussed above.

Id.

        Judge Trenga also granted, in the alternative, a motion for new trial, against the (highly

unlikely) possibility that his primary ruling of acquittal would be reversed or vacated. Upon further

analysis, he realized the “jury was not adequately instructed as to the role of Michael Flynn in light

of the government’s in-court judicial admission that Flynn was not a member of the alleged

conspiracy and the lack of evidence sufficient to establish his participation in any conspiracy; and

there was a substantial danger that the jury drew inferences against Rafiekian with respect to the

existence of and his participation in the alleged conspiracy based on a belief that Flynn could be

regarded as a member of the alleged conspiracy.” Id. at 36-37.

        Finally, the court underscored the need to fulfill the scienter requirement, which burden the

government had not carried, holding that “the mens rea requirement under this general intent

                                                  3
         Case 1:17-cr-00232-EGS Document 121 Filed 09/30/19 Page 4 of 6



statute required the government to prove that the defendant knew he was acting in a manner not

authorized by statute or regulation.” Id. at 37.1

        Remarkably, the government did not indict the specious Rafiekian case until more than a

year after the Flynn indictment—just a few days before Mr. Flynn was to be sentenced in this

Court—when the government was concerned that Mr. Flynn would withdraw his plea.

        Even more troubling, Mr. Van Grack was determined that Mr. Flynn would testify in the

Rafiekian case that he had knowingly signed a false FARA registration, even though Mr. Van

Grack knew that was not true and Mr. Flynn had not agreed to that in the course of his plea

agreement. Mr. Flynn’s refusal to get on the witness stand and lie for the government on that point

prompted a heated tirade from Mr. Van Grack with Mr. Flynn’s lead counsel, in which Mr. Van

Grack claimed Mr. Flynn had agreed to plead to a knowing and intentional false FARA filing. Dkt.

98-1.

        In our endless document review, we now have a draft of the statement of offense that proves

the contrary, showing similar language deleted. The absence of that language from the statement

of offense or any charge of a false filing did not deter Mr. Van Grack from doubling down.

Enraged that Mr. Flynn reject their demand to lie, the prosecutors in the EDVA (Mr. James Gillis,

Mr. Evan Turgeon, and Mr. John Gibbs, with Mr. Van Grack’s oversight) retaliated with an ex

parte gag order and sealed filing on July 3. For the first time, the prosecutors claimed that Mr.

Flynn was a co-conspirator. They put Michael Flynn Jr. on the witness list for the Rafiekian trial.




1 This decision renders meaningless the FARA-related section of the Statement of the Offense in
this case; however, it does not vitiate any of our Brady requests. Indeed, it only magnifies their
significance in the overall government misconduct in this case. The government told defense
counsel in the summer of 2017 that it was going to indict the FARA case then, had obtained
authorization to target Michael Flynn Jr.—who had a newborn—and had seized all his electronic
devices.
                                                    4
         Case 1:17-cr-00232-EGS Document 121 Filed 09/30/19 Page 5 of 6



They even had FBI Agent Taylor contact the latter directly, despite knowing he was represented

by counsel. See Dkt 246 in EDVA; Dkt. 95 in this Court.

       In sum, however, the entire prosecution failed for lack of evidence of any conspiracy or

anyone acting as a foreign agent. As Judge Trenga wrote: “the Government has failed to offer

substantial evidence . . . that Rafiekian knowingly acted and caused others to act . . . as an agent

of a foreign government,” and there was “no evidence Rafiekian agreed to operate subject to the

direction or control of Turkey,” and “no competent evidence . . . Alptekin acted as the type of

‘intermediary’ [as] the Government contend[ed].” Op. at 25.

       September 30, 2019

                                                             Respectfully submitted,


/s/ Sidney Powell                                            /s/ W. William Hodes
Sidney Powell                                                The William Hodes Law Firm
Molly McCann                                                 3658 Conservation Trail
Sidney Powell, P.C.                                          The Villages, Florida 32162
2911 Turtle Creek Blvd.,                                     Tel: (352) 399-0531
Suite 300                                                    Fax: (352) 240-3489
Dallas, Texas 75219                                          Admitted Pro Hac Vice
Tel: 214-707-1775
sidney@federalappeals.com
Admitted Pro Hac Vice
molly@federalappeals.com
Admitted Pro Hac Vice

/s/ Jesse R. Binnall
Jesse R. Binnall
Lindsay R. McKasson
Harvey & Binnall, PLLC
717 King Street, Suite 300
Alexandria, VA 22314
Tel: (703) 888-1943
Fax: (703) 888-1930
jbinnall@harveybinnall.com
lmckasson@harveybinnall.com
Admitted Pro Hac Vice


                                                 5
         Case 1:17-cr-00232-EGS Document 121 Filed 09/30/19 Page 6 of 6




                                CERTIFICATE OF SERVICE

       I hereby certify that on Monday, September 30, 2019, I filed a copy of the above and

foregoing in the office of the Clerk via the CM/ECF system, which will provide notice to all

counsel of record.



Jessie K. Liu, U.S. Attorney for the District of Columbia
Brandon L. Van Grack, Special Assistant U.S. Attorney
Jocelyn Ballantine, Assistant U.S. Attorney
555 4th Street, NEW
Washington, D.C. 20530


                                                               /s/ Sidney Powell
                                                               Sidney Powell, P.C.
                                                               2911 Turtle Creek Blvd.,
                                                               Suite 300
                                                               Dallas, Texas 75219
                                                               Tel: 214-707-1775
                                                               sidney@federalappeals.com
                                                               Admitted Pro Hac Vice




                                                6
